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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

CORAL RIDGE MINISTRIES MEDIA,                 )
INC., d/b/a D. JAMES KENNEDY                  )
MINISTRIES,                                   )
                                              )
Plaintiff,                                    )    Civil Case No. 2:17-cv-566
                                              )
v.                                            )
                                              )
AMAZON.COM, INC., et al.                      )
                                              )
Defendants.                                   )

                  PLAINTIFF’S RULE 16(a) MOTION FOR
                      CASE STATUS CONFERENCE


Plaintiff, Coral Ridge Ministries Media, Inc., pursuant to the Fed. R. Civ. P. Rule

16(a), hereby moves this Court for a status conference. Plaintiff seeks a status

conference, because this matter has been pending before the Court for over one year,

since the May 29, 2018 hearing on Magistrate Judge’s Recommendation. Prior to

filing this Motion, Plaintiff’s Counsel communicated with Counsel for the

Defendants, who declined to join or agree to this Motion.




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Respectfully submitted this 10th day of July 2019.


                                              /s/ David C. Gibbs III _____ .
                                              David C. Gibbs III, Esq.
                                              (Admitted Pro Hac Vice)
                                              The National Center for
                                              Life and Liberty, Inc.
                                              2648 FM 407, Suite 240
                                              Bartonville, TX 76226
                                              Telephone: (727) 362-3700
                                              Facsimile: (727) 398-3907
                                              Email: dgibbs@gibbsfirm.com
                                              ATTORNEYS FOR PLAINTIFF




                         CERTIFICATE OF SERVICE

I, David C. Gibbs III, do hereby certify that a true and correct copy of the foregoing

has been furnished by the Court’s CM/ECF system on the following parties, this

10th day of July 2019.




Tim Cunningham                                Harlan Irby Prater, IV
Davis Wright Tremaine LLP                     Lightfoot Franklin & White LLC
1300 SW 5th Ave – Ste 2400                    400 20th Street North; The Clark
Portland Oregon 97201                         Building
503-241-2300                                  Birmingham, AL 35203
503778-5200 (fax)                             205-581-0700
timcunningham@dwt.com                         205-581-0799 (fax)
                                              hprater@lightfootlaw.com

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Ambika K Doran                          Robert David Segall
Davis Wright Tremaine LLP               Copland Franco Screws & Gill
920 Fifth Ave., Suite 3300              P.O. Box 347
Seattle, WA 98104-1610                  Montgomery, Al 36101-0347
206-622-3150                            334-834-1180
206-757-7700 (fax)                      334-834-3172 (fax)
ambikadoran@dwt.com                     segall@copelandfranco.com

Shannon Lynn Holliday                   Robert Ashby Pate
Copland Franco Screws & Gill, PA        Lightfoot Franklin & White, LLC
PO Box 347                              400 20th St N
Montgomery, Al 36101-0347               Birmingham, AL 35203
205-581-0775                            205-581-00775
334-834-3172 (fax)                      205-380-9175 (fax)
holliday@copelandfranco.com             apate@lightfootlaw.com




                                        /s/ David C. Gibbs III .
                                        David C. Gibbs III, Esq.




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